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13
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14   Milestone Financial, LLC
15
                           UNITED STATES BANKRUPTCY COURT
16                        NORTHERN DISTRICT OF CALIFORNIA
17
                               SAN FRANCISCO DIVISION

18

19
     In re                                  )   CASE NO. 20-30711
     MARK E. MOON                           )   CHAPTER 11
20           Debtor,                        )   ADV NO. 22-03106
21
     ________________________________ )
     MARK E. MOON,                          )   MILESTONE FINANCIAL, LLC’S
22                                          )   MOTION FOR ATTORNEYS’ FEES
           Plaintiff,                       )   AFTER APPEAL; MEMORANDUM OF
23
     v.                                     )   POINTS AND AUTHORITIES
24   Milestone Financial, LLC, a California )
     Limited Liability Company              )
25
                                            )   Date: June 27, 2025
26           Defendant.                     )   Time: 10:00 a.m.
                                            )   Dept. remote appearance
27
      _______________________________ )
28


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         MILESTONE’S MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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                                                    APPEAL
 1
           Pursuant to FRBP 7054, FRCP 54, Local Bankruptcy Rule (“LBR”) 1001-
 2   2(a) and Civil Local Rules (“CLR”) 54-1 – 54-4, Milestone Financial, LLC
 3
     (“Milestone”) hereby moves the Court for an award of attorneys’ fees in the
 4

 5   amount of $51,600 against E. Mark Moon aka Mark Moon for the attorneys’ fees
 6
     incurred on the appeal before the United States District Court.
 7

 8         The Motion will be based upon the Motion, the Notice of Motion, the
 9
     Memorandum of Points and Authorities, the Declarations of Harris L. Cohen,
10
     Bernard Kornberg and William Stuart, the Appendix of Evidence, and the evidence
11

12   in support of the motion and all other documentation on file with the Bankruptcy
13
     Court herein.
14

15   Dated: May 28, 2025                          MILLER NASH LLP
16

17                                                By: /s/ Bernard Kornberg
                                                  Bernard Kornberg, Esq.
18                                                Attorney for Defendant Milestone
19                                                Financial, LLC

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17
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           MILESTONE’S MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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                                                      APPEAL
 1                    I. INTRODUCTION AND STATEMENT OF FACTS
 2
            Plaintiff, Mark E. Moon (“Moon”), filed this action generally claiming that
 3
     Milestone Financial, LLC (“Milestone”) prevented him from paying off the note secured
 4

 5   by a deed of trust against his property at 11 Mandalay Ct., Redwood City, CA 94065.
 6
     The note secured by a deed of trust was not refinanced by a loan from United Wholesale
 7
     Mortgage (“UWM”), because the proposed borrower, Lori Moon, could not meet the
 8

 9   UWM underwriting requirements.
10
            Moon filed his original complaint [Dkt. 1] and then in response to a motion to
11
     dismiss, he amended the complaint by filing a first amended complaint on May 31, 2023
12

13   [Dkt. 20]. Then Moon filed a second amended complaint on January 23, 2024 [Dkt. 31].
14
            Moon filed a motion for partial summary judgment [Dkt. 34], that the Court
15
     denied after extensive briefing. [Dkt. 45].
16

17          Milestone filed a motion for summary judgment and/or partial summary judgment

18   on March 27, 2024. [Dkt. 48]. The parties briefed the motion and the Court granted the
19
     motion by its order on June 10, 2024. [Dkt. 57]. Thereafter, the Court entered judgment
20

21
     in favor of Milestone on June 18, 2024 [Dkt. 60].

22          All claims arise out of the Note, Deed of Trust and Settlement Agreement,
23
     Indemnity and First Amendment to Promissory Note Secured by Deed of Trust (the
24

25
     “Settlement Agreement”) that Moon sought to pay off by refinancing the Milestone loan.

26   Those contracts and agreements provide a basis for awarding Milestone its attorneys’ fees
27
     in this action, including on the appeal.
28


                                                   6
         MILESTONE’S MEMO OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
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 1
             Moon filed a notice of appeal from the Court’s judgment on June 21, 2024 [Dkt

 2   61]. The appeal included an election to have the United States District Court (“USDC”)
 3
     hear the appeal. After both sides extensively briefed the issues on appeal, the USDC
 4
     entered its Order Affirming Summary Judgment for Milestone. (Appendix of Evidence
 5

 6   (“AOE” #1).
 7

 8    II. MOON CHALLENGED EVERY RULING BY THE BANKRUPTCY COURT,
 9                            REQUIRING EXTENSIVE BRIEFING.
10
             Moon’s Second Amended Complaint against Milestone in this action included five
11

12   (5) causes of action: 1) Violation of Civil Code §2943(c); 2) Violation of 15 U.S.C.

13   §1639g; 3) Violation of RESPA; 4) Breach of Contract, and 5) Intentional Interference
14
     with Contractual Relations.
15

16
             Necessarily, the Bankruptcy Court’s summary judgment adjudicated all five (5)

17   causes of action in favor of Milestone. Moon thus had the choice to appeal the decision
18
     on any combination of causes of action or all causes of action.
19
             Moon took the unique approach in the appeal brief of not directly addressing each
20

21   cause of action, but instead by generally arguing certain facts/conclusions he believed the
22
     Bankruptcy Court decided incorrectly. (AOE #2). However, the ambiguity in the briefing
23
     and failure to address each cause of action directly and distinctly, forced Milestone to do
24

25   so.
26
             Milestone, in its brief, was forced to address each cause of action and it did so.
27
     (AOE #3).
28


                                                    7
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 1
             In the USDC opinion, the Court also was forced to address each cause of action. It

 2   went through each cause of action and affirmed the Bankruptcy Court’s judgment on
 3
     each cause of action. (AOE #1).
 4

 5
         III. THE PLEADINGS AND PARTIES’ CONTRACTS PROVIDE A BASIS FOR
 6
                              RECOVERY OF ATTORNEYS’ FEES.
 7

 8           In paragraph 36 of the original complaint, Moon claimed:
 9           “Plaintiff is entitled to an award of his attorneys fees incurred in connection with
10
     this complaint under 15 USC 1640(a) and under the provisions of the promissory notes
11

12   between the parties.” (Emphasis added). In paragraph D of the prayer of that pleading

13   he sought “reasonable attorneys’ fees.”
14
             In both the FAC and the SAC [Dkt 31], Moon included breach of contract causes
15

16
     of action. The only relevant contracts at issue between the parties were the note, deed of

17   trust and settlement agreement. The instant action sought to hold Milestone liable for not
18
     honoring its obligations to accept what was owed on the note secured by the deed of trust
19
     and as amended by the settlement agreement. 1
20

21

22
     A.      THE NOTE PROVIDES FOR THE RECOVERY OF ATTORNEYS’ FEES.

23

24

25

26
     1
       Moon did argue at the hearing on the summary judgment motion that the Court’s
     judgment in the prior action was a “Contract” between the parties, however that argument
27
     was rejected by the Court. As stated in the Court’s order granting summary judgment,
28   “As the court made clear at the hearing, a judgment is not a contract. There is no need to
     elaborate on this fact.”
                                                   8
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 1
            The parties’ note [AOE #5] provides for the recovery of attorneys’ fees.

 2   Paragraph 4 of the note states:
 3
            “Attorneys' Fees. Maker agrees to pay all costs, including actual attorneys' fees
 4          and expenses incurred in good faith (including court costs, expert witness fees,
            document reproduction expenses, costs of exhibit preparation. courier charges,
 5
            postage and communication expenses), incurred by Holder in enforcing
 6          payment or collection of this Note or the terms of any Loan Document, whether or
            not suit is filed, including without limitation fees in obtaining legal advice
 7
            regarding Holder's rights and remedies, and all costs and fees incurred in obtaining
 8          relief from any stay or injunction. The parties’ deed of trust provides for the
            recovery of attorneys’ fees.”
 9

10          This suit arises from Moon’s claim that Milestone improperly enforced its rights
11
     under the Note, Deed of Trust and Settlement Agreement. Therefore, Milestone is
12
     entitled to recover its attorneys’ fees based on the terms of the Note.
13

14
     B.     THE SETTLEMENT AGREEMENT PROVIDES FOR THE RECOVERY
15
            OF ATTORNEYS’ FEES.
16

17          The parties’ Settlement Agreement [AOE #6] also provides for the recovery of
18
     attorneys’ fees. Paragraph 3 of the Settlement Agreement provides in relevant part:
19
            Lender enters into this Agreement solely to accommodate the needs of Borrower
20
            and despite its wishes that the current Note and associated loan documents be
21          honored. Lender does not wish to be at any risk whatsoever. Therefore, Borrower
            hereby agrees to indemnify, defend through counsel of Lender's choice and hold
22
            harmless Lender (and all of those persons and entities referenced below as
23          ”Released Parties”) from and against any and all claims, losses, demands,
            liabilities, damages, penalties, fines and expenses of any kind of nature, including
24
            without limitation, all costs of litigation, attorney's fees, and expert fees which
25          Lender, as well as any other persons or entities benefitted by Borrower’s
            general release set forth below, and Lender's successors or assigns, may
26
            directly or indirectly sustain or suffer as a consequence of entering into this
27          Agreement, as a consequence of any claim, liability, loss, demand, damage,
            penalty, expense, cost, attorney fee, expert fee based in whole or in part on
28
            any alleged or actual invalidity, unenforceability, and/or unconscionability of

                                                   9
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 1
            this Agreement or any provision contained within it, or relating in any way to
            the Note, Deed of Trust or the Property. This indemnification agreement to
 2          defend and agreement to hold harmless extends to any and all claims brought or
            originated through Borrower or any other person or entity whatsoever including
 3
            but not limited to any government agency. (Emphasis added).
 4
            It is indisputable that the litigation relates to the Note, Deed of Trust and the
 5

 6   Property as the sole issue was whether Milestone complied with its obligations
 7
     concerning the payoff of the Note, the reconveyance of the Deed of Trust and the
 8
     Settlement Agreement terms subject to the Court’s judgment liquidating the debt.
 9

10

11
     C.     THE DEED OF TRUST PROVIDES FOR THE RECOVERY OF

12
            ATTORNEYS’ FEES.

13          The parties’ Deed of Trust [AOE #7] also provides for the recovery of attorneys’
14
     fees. Paragraph 9.28 of the Deed of Trust provides in relevant part:
15

16
            “If any suit. action or proceeding of any kind (an "action”) is brought by any party
            hereto to enforce, defend or interpret any provision of this Deed of Trust or any of
17          the Loan Documents (including an action for declaratory relief), the prevailing
            party in such action shall recover from the other non-prevailing parties to such
18
            action all reasonable costs and expenses which the prevailing party may incur in
19          bringing such action and/or enforcing any judgment granted therein, all of which
            shall be deemed to have accrued upon the commencement of such action and shall
20
            be paid whether or not such action is prosecuted to judgment.”
21
            Here, Moon’s complaint sought to enforce what he believed was required of
22

23   Milestone based on the Note, Deed of Trust and Settlement Agreement as liquidated by
24
     the Court’s judgment. Therefore, based on the terms of the Deed of Trust, Milestone as
25
     the prevailing party is entitled to recover its attorneys’ fees incurred in this action.
26

27

28


                                                    10
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                                                   16
 1   D.     APPLICABLE LAW ALLOWS MILESTONE TO RECOVER ITS
 2          ATTORNEYS’ FEES AND THE 9TH CIRCUIT USES THE LOADSTAR
 3          METHOD TO CALCULATE FEES.
 4

 5          Motions for attorneys’ fees are governed by Federal Rule of Bankruptcy
 6
     Procedure (“FRBP”) 7054, Federal Rule of Civil Procedure (“FRCP”) Rule 54 as made
 7
     applicable by FRBP 7054, and Bankruptcy Local Rule 1001-2(a) making Civil Local
 8

 9   Rules (“CLR”) 54-1 - 54-5 applicable to bankruptcy cases and adversary proceedings.
10
     FRCP Rule 54(b) permits the Court to grant an attorneys’ fees motion. In re Lyon, 644
11
     B.R. 211, 213-214 (Bankr. D. Or. 2022).
12

13          Pursuant to CLR 54-5(a), the motion must be filed within 14 days after entry of
14
     judgment by the District Court. Further, the parties must meet and confer for the
15
     purposes of resolving all disputed issues relating to the attorney’s fees before making a
16

17   motion for an award of attorney’s fees.
18          The motion must include declarations with confirmation of the meet and confer
19
     requirement satisfaction, descriptions of the work done, and the qualifications and
20

21   experience and customary charges of persons seeking fees. That information is included

22   in the Kornberg and Cohen declarations. CLR 54-5(b).
23
            “In the Ninth Circuit, the customary method for determining the reasonableness of
24

25
     a professional's fees is the ‘lodestar’ calculation. Morales v. City of San Rafael, 96 F.3d

26   359, 363 (9th Cir.1996), amended, 108 F.3d 981 (9th Cir.1997). ‘The ‘lodestar’ is
27
     calculated by multiplying the number of hours the prevailing party reasonably expended
28


                                                   11
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 1
     on the litigation by a reasonable hourly rate.’ Morales, 96 F.3d at 363 (citation omitted).

 2   ‘This calculation provides an objective basis on which to make an initial estimate of the
 3
     value of a lawyer's services.’ Hensley v. Eckerhart, 461 U.S. 424, 433, 103 S.Ct. 1933, 76
 4
     L.Ed.2d 40 (1983). A compensation award based on the loadstar is a presumptively
 5

 6   reasonable fee. In re Manoa Finance Co., 853 F.2d 687, 691 (9th Cir.1988).” In re
 7
     Carson, 510 B.R. 627, 647 (Bankr. E.D. 2014).
 8
            When the parties’ contract is subject to California law, the Court must look to
 9

10   California law to determine the prevailing party. In re Mac-Go Corp., 541 B.R. 706, 714
11
     (Bankr. N.D. Cal. 2015). Here, Milestone prevailed as to every cause of action in the
12
     SAC on summary judgment, so the issue of prevailing party is not in dispute as Moon did
13

14   not prevail on any claim. Similarly, Milestone prevailed on every issue and every cause
15   of action in the appeal by Moon.
16
            California provides two bases for recovery of attorneys’ fees in contract cases.
17

18   First, Civil Code §1717(a) provides that when the contract provides for attorneys’ fees

19   and costs regarding enforcement, then the prevailing party shall be entitled to reasonable
20
     attorneys’ fees in addition to other costs. Second, if the action is not “on the contract” the
21

22
     prevailing party may still recover attorneys’ fees if the contract language encompasses

23   the issues of the dispute. Code of Civil Procedure §1032(b) and Santisas v. Goodin
24
     (1998) 17 Cal.4th 599, 608.
25
            “ ‘ [P]arties may validly agree that the prevailing party will be awarded attorney
26
            fees incurred in any litigation between themselves, whether such litigation sounds
27          in tort or in contract.’ (Xuereb v. Marcus & Millichap, Inc. (1992) 3 Cal.App.4th
            1338, 1341, 5 Cal.Rptr.2d 154.).”
28


                                                   12
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                                                  16
 1
            Courts “must liberally interpret §1717.” In re Flores, 2023 WL 4034356, *9

 2   (Bankr. C.D. Cal. 2023).
 3
            Milestone undeniably is the “prevailing party” on the appeal as it prevailed on
 4
     every issue and is therefore entitled to recover its attorneys’ fees.
 5

 6

 7
                 IV. SUMMARY OF WORK SUBJECT TO THIS MOTION
            As detailed in the time sheets attached to the AOE and authenticated in the
 8

 9   Kornberg and Cohen declarations, the work subject to this fee motion was substantial.

10          This work included:
11

12
            1.     Addressing the Notice of Appeal;
13

14
            2.     Addressing the pending motion for attorneys’ fees arising from the

15
     judgment and the timing of that hearing;

16
            3.     Addressing the bill of costs;
17

18          4.     Addressing Moon’s opposition to the attorneys’ fees motion;

19
            5.     Working on the appellate brief;
20

21          6.     Analysis of Moon’s filings for the appeal including briefing;
22
            7.     Attending the state court hearings that persisted because Moon would not
23
     dismiss that action despite all the results in this Court and the appellate courts;
24

25          8.     Addressing the 9th Circuit Court’s order;
26
            9.     Addressed Moon’s motion for reconsideration; and
27

28          10.    Preparing this motion.

                                                    13
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                                                   16
 1        V. THE LOADSTAR ATTORNEYS’ FEES RATE SHOULD BE $800.00 PER
 2                                         HOUR FOR COUNSEL.
 3

 4             As the Court may recall, John McDonnell sought $800.00 per hour for all his work
 5
     in the prior adversary case he prosecuted for the Moons, despite admitting to an actual
 6
     rate of $425 an hour. (See Cohen Decl. AOE #8). Milestone, which has a reduced fee
 7

 8   agreement with its counsel, seeks the same $800.00 per an hour sought by Mr.
 9
     McDonnell. 2 As shown in the declarations of Bernard Kornberg and Harris L. Cohen,
10
     their experience is certainly co-extensive with Mr. McDonnell’s experience in handling
11

12   litigation matters, and they have more experience in bankruptcy matters than Mr.
13
     McDonnell.
14
               The work performed in this case was done expeditiously with a conscious effort to
15

16   minimize attorneys’ fees and costs, as the Court would expect of experienced litigators.
17   Counsel for Milestone were successful on all issues on appeal, and briefing was further
18
     complicated by Moon’s decision not to directly address each cause of action in his
19

20   opening brief. The appellate briefing was streamlined as much as possible.

21             Moon increased the fees by filing his own form of non-linear briefing as to the
22
     causes of action. This increased the amount of work required by Milestone’s counsel,
23

24
     which was substantial. The California Supreme Court has held that a party cannot file

25   motions and aggressively litigate and then be heard to complain about the other side’s
26

27

28
     2
         Milestone’s counsel discounted rate to the client is set forth in the individual billing statements.
                                                         14
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     fees to respond, “[a party] cannot litigate tenaciously and then be heard to complain about

 2   the time necessarily spent by the plaintiff in response.” Serrano v. Unruh (1982) 32
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     Cal.3d 621, followed in Calvo Fisher & Jacob LLP v. Lujan (2015) 234 Cal. App. 4th
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     608, 627.
 5

 6          In 2023, the rates for attorneys in the Northern District of California were
 7
     analyzed in Dominguez v. City of San Jose, 2023 WL 2717266, *5 (N.D. Cal. 2023), as
 8
     follows:
 9

10          “The Court notes that the rates are reasonable based on the prevailing rates in the
            Northern District. See, e.g., Human Rights Def. Ctr. v. Cnty. of Napa, 2021 WL
11
            1176640, at *11 (N.D. Cal. Mar. 28, 2021) (approving hourly rates of $950 for an
12          attorney with about 40 years of experience; $625 for an attorney with about 10
            years of experience; $650 for an attorney with about 20 years of experience; and
13
            $260 and $350 for paralegals with 10 and 30 years of experience, respectively);
14          Californians for Disability Rights v. California Dep't of Transp., No. C 06-05125
            SBA, 2010 WL 8746910, at *13 N.D. Cal. Dec. 13, 2010 (finding $740, $640,
15          $660, and $570 to be reasonable hourly rates for attorneys at Disability Rights
16          Advocates with 26, 23, 19, and 10 years of experience, respectively); Dixon v. City
            of Oakland, No. C-12-05207 DMR, 2014 WL 6951260, at *7, *9 (N.D. Cal. Dec.
17          8, 2014) (approving hourly rates in an individual civil rights case of $725 and
18          $695 for partners; $325, $350, and $400 for associates with 2, 3, and 5 years of
            experience; and $200 for paralegals); A.D. v. State of California Highway Patrol,
19          No. C 07-5483 SI, 2013 WL 6199577, at *5-6 (N.D. Cal. Nov. 27, 2013)
20
            (approving hourly rates in a wrongful death case of $725 for attorneys with 34 to
            40 years of experience and $425 for attorney with 9 years of experience); Davis v.
21          Prison Health Servs., No. C 09-2629 SI, 2012 WL 4462520, at *9-10 (N.D. Cal.
22
            Sept. 25, 2012) (approving hourly rates of $675-750 for attorneys with close to 30
            years of experience and $180 for a paralegal with 25 years of experience); Aguilar
23          v. Zep Inc., No. 13-cv-00563-WHO, 2014 WL 4063144, at *4 (N.D. Cal. Aug. 15,
24
            2014) (approving hourly rates in an employment case of $700 for a partner with 31
            years of experience and $650 for an attorney with 22 years of experience).”
25
            ‘“The reasonable market value of the attorney's services is the measure of a
26

27   reasonable hourly rate. [Citations.] This standard applies regardless of whether the
28
     attorneys claiming fees charge nothing for their services, charge at below-market or
                                                  15
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     discounted rates, represent the client on a straight contingent fee basis, or are in-

 2   house counsel.’” Altavion, Inc. v. Konica Minolta Systems Laboratory, Inc. (2014) 226
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     Cal. App. 4th 26, 73 (Emphasis added). Therefore, for example the fact that Mr. Cohen
 4
     charges less than his reasonable hourly rate, does not prevent recovery of that reasonable
 5

 6   hourly rate in this action.
 7
            Mr. Cohen has almost 40 years of experience and extensive bankruptcy
 8
     experience. Mr. Kornberg has 17 years of experience.
 9

10          Based on the foregoing, the requested attorneys’ fees are:
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             Name                  Hours         Rate                        Total
12    Harris L. Cohen              40.9         $800.00                               $32,720
      Bernard Kornberg             23.6         $800.00                               $18,880
13

14                                              TOTAL:                                $51,600
15
                                      VI. CONCLUSION
16          Based on the foregoing, Milestone requests that the Court grant the motion and
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     award attorneys’ fees of $51,600.
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19
     Dated: May 28, 2025                               MILLER NASH LLP
20

21
                                                       By: /s/ Bernard Kornberg
22                                                     Bernard Kornberg, Esq.
23
                                                       Attorney for Defendant Milestone
                                                       Financial, LLC
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